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10   Attorney for Plaintiff
11   [Additional counsel on signature
     page]
12
13
                              UNITED STATES DISTRICT COURT
14
                         CENTRAL DISTRICT OF CALIFORNIA
15
                                            )
16   JOSHUA CROSS, individually and         )       CASE NO. 2:24-cv-09325-MCS-PVC
     on behalf of similarly situated,       )
17                                          )       STIPULATION REGARDING
                         Plaintiff,         )       SCHEDULE FOR RESPONSE TO
18                                          )       AMENDED COMPLAINT
           v.                               )
19                                          )       Hon. Mark C. Scarsi
     HALEON US HOLDINGS LLC,                )       Courtroom 7C
20                                          )
                         Defendant.         )       Complaint Filed:     October 29, 2024
21                                          )       Complaint Served: November 8, 2024
                                            )       Amended Complaint: December 6, 2024
22                                          )       Response Due:        December 20, 2024
                                                    New Response Date
23                                                  (amended complaint): January 3, 2025
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 1         This Stipulation is entered into between Plaintiff Joshua Cross (Plaintiff), and
 2   Defendant Haleon US Holdings LLC (“Haleon”).
 3         WHEREAS, on October 29, 2024, Plaintiff filed a putative Class Action
 4   Complaint (“Complaint”) in the above-captioned case;
 5         WHEREAS, on November 26, 2024, the Court issued an order “extend[ing]
 6   Defendant’s deadline to respond to the original complaint to December 6, 2024” and
 7   “encourag[ing] the parties to agree on a reasonable briefing schedule before engaging
 8   in motion practice,” ECF No. 15;
 9         WHEREAS, Plaintiff filed an amended complaint on December 6, 2024
10   (“Amended Complaint”), replacing Haleon US Inc. with the proper entity, Haleon US
11   Holdings LLC (“Haleon”);
12         WHEREAS, Plaintiff has asked and Haleon has agreed that Plaintiff’s prior
13   service on Haleon US Inc. of notice under California’s Consumers Legal Remedies
14   Act will be deemed served on Haleon US Holdings LLC;
15         WHEREAS, the parties have discussed a more expedited schedule for Haleon’s
16   response to the Amended Complaint than previously proposed and, given the volume
17   of allegations and claims in the complaint, as well as the upcoming holidays and
18   scheduling conflicts, including international travel by both counsel for Haleon and
19   counsel for Plaintiff, the parties agreed that Haleon will have an additional 14 days to
20   respond to the amended complaint, Plaintiff will have 24 days to file his opposition,
21   and Haleon will have 14 days to file its reply;
22         WHEREAS, this extension will not alter the time of any other event or
23   deadline already fixed by Court order;
24         WHEREAS, this is the first stipulation for extension of time for the response to
25   the Amended Complaint.
26         THEREFORE, THE PARTIES AGREE AND STIPULATE as follows:
27         1.     The deadline for Haleon to answer or respond to the Amended Complaint
28                shall be extended from December 20, 2024, until January 3, 2025.


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 1        2.   If Haleon files a motion to dismiss, any opposition by Plaintiff shall be
 2             filed on or before January 27, 2025.
 3        3.   Any reply by Haleon shall be filed on or before February 10, 2025.
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 5   IT IS SO STIPULATED
 6
 7
     DATED: December 6, 2024                 KIRKLAND & ELLIS LLP
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 9
                                        By: /s/ Robyn E. Bladow
10                                          Robyn E. Bladow (SBN 205189)
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                                             Attorneys for Defendant
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     Dated: December 6, 2024                 KAPLAN FOX & KILSHEIMER LLP
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18                                      By: /s/ Matthew George
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28                                           Attorneys for Plaintiff Joshua Cross

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 1                             SIGNATURE CERTIFICATION
 2         Pursuant to Local Rule 5-4.3.4, I hereby attest that all the other signatories
 3   listed, and on whose behalf the filing is submitted, concur in the filing’s content and

 4   have authorized this filing.

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     Dated: December 6, 2024                                 /s/ Robyn E. Bladow
 6                                                           Robyn E. Bladow
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